                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION – FLINT

In re:

         AMY LEA GASSEL                                             Case No. 12-30627-dof
                                                                    Chapter 7 Proceeding
                 Debtor.                                            Hon. Daniel S. Opperman

_______________________________________/

UNDERWOOD & ASSOCIATES, P.C.,

         Plaintiff,

v.                                                                  Adv. Pro. No. 13-03202-dof

AMY LEA GASSEL,

         Defendant.

________________________________________/

                                        TRIAL OPINION

                                           Introduction

         Underwood and Associates, P.C. (“Plaintiff”) brought this adversary proceeding for the

purpose of seeking a determination that the Debtor, Amy Gassel (“Defendant”), is not entitled to

a discharge under 11 U.S.C. § 727(a)(2)(A), (a)(3), (a)(4), and (a)(7). The trial was held on April

28, 2014, at which the Court heard testimony from the Defendant and Exhibits 1-4 were admitted

without objection. At the request of counsel, the Court allowed the filing of post-trial briefs.

The Court has reviewed the testimony and exhibits admitted into evidence and the pleadings

filed in this adversary proceeding. For the reasons stated herein, the Court concludes that

judgment should be entered in favor of the Defendant and against the Plaintiff on all counts in

the complaint.



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                              Procedural History and Background Facts

       The Defendant filed a Chapter 13 bankruptcy petition on February 16, 2012.            The

Plaintiff represented the Defendant in her pre-petition divorce case. Pursuant to the Judgment of

Divorce dated August 1, 2011, the Defendant was owed the following from her ex-husband: (1)

$23,647.88 representing an arrearage on a status quo order; (2) $2,643.50 representing ½ of a

federal tax refund; (3) $1,132.08 representing ½ of a Merrill Lynch retirement account; and (4)

spousal support in the amount of $300.00 per month for five years. The Defendant filed her

Schedules on March 2, 2012. On her Schedule B, the Defendant listed her ½ interest in her ex-

husband’s retirement account and indicated that the value was unknown; a child and spousal

support arrearage in the amount of $23,000.00; and a 2011 tax refund in the amount of

$8,000.00. On her Schedule C, the Defendant exempted those assets. On her Schedule F, the

Defendant listed the Plaintiff as an unsecured creditor.

       On October 5, 2012, the Court issued a bench opinion and entered an order providing that

the Plaintiff is a secured creditor of the Defendant by reason of a common law charging lien for

procuring funds in the representation of the Defendant and the delivery of professional services

to the Defendant in her divorce case.

       On December 13, 2012, the Court entered an Order Confirming the Defendant’s

Amended Chapter 13 Plan. The Plan provided that the Plaintiff would be paid $200.00 per

month on its secured claim.

       Exhibit 2, a copy of the Lapeer County Friend of the Court Records, for the most part

details payments made to the Defendant by the Friend of the Court in the amount of $113.00 per

week, consistent with a wage order directed to her ex-husband. That Exhibit also shows a few

other larger payments made at various times: $905.72 on November 21, 2011; $755.13 on



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February 27, 2012; $4,199.00 on March 16, 2012; $904.82 on December 27, 2012; and $994.35

on February 19, 2013.

       On April 22, 2013, the Defendant filed a Notice of Voluntary Conversion from Chapter

13 to Chapter 7 and amended Schedules I and J. No amendments were made to the Defendant’s

other Schedules. On her Amended Schedule I, the Defendant listed a total income of only

$300.00, stemming from alimony, maintenance or support payments payable to the debtor. The

Defendant listed her two daughters, ages 15 and 17, as dependents. On her Schedule J, the

Defendant listed average monthly expenses of $947.00. The Defendant testified that, at the

recommendation of her physician, she terminated her position at Lapeer Regional Hospital

because she was physically unable to meet the requirements of her position due to having

systemic lupus. She testified that she has suffered from lupus since her teens and that the disease

caused constant weakness, nausea, and a condition that she described as “brain fog”. She further

testified that she sometimes received more than $300.00 or less than $300.00 from her ex-

husband because he was not consistently working. The Court carefully observed the Defendant’s

demeanor while testifying, as well as heard her answers to questions. The Court finds that the

Defendant is a credible witness and experiences the physical conditions described by her and the

attendant symptoms.

       On July 15, 2013, the Plaintiff filed its adversary complaint. The Defendant filed a

Motion for Summary Judgment on November 14, 2013, which was denied on January 22, 2014.

As noted, the trial was held on April 28, 2014.

                                           Arguments

       The Plaintiff argues that the Defendant (1) omitted substantial income she received as a

result of the Judgment of the Divorce when she filed her bankruptcy petition, namely funds



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received from her ½ interest in a 2010 tax refund and payments made to her on the spousal and

child support arrearage; and (2) under-reported her income on her Amended Schedule I. The

Plaintiff argues that the Defendant purposefully made these omissions or that she acted with

reckless indifference to the truth and that she should be denied a discharge. The Defendant

argues that (1) she was not required to report her ½ interest in the 2010 tax refund on her

Schedules and she did report and exempt her expected 2011 tax refund; (2) she reported her

interest in the spousal and child support arrearage and exempted it; and (3) she listed a spousal

support payment of $300.00 on her Amended Schedule I because she was receiving payments

from her ex-husband only sporadically due his having several surgeries at that time. The

Defendant argues that she filed her bankruptcy case in good faith and that the Plaintiff has failed

to meet its burden of proof.

                                           Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. §

1334, and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(J)

(objections to discharges).

       The issues in this matter arise from Title 11 of the United States Code and do not involve

any matter which limits this Court’s jurisdiction as detailed by the United States Supreme Court

in Stern v. Marshall, ---- U.S. ----, 131 S. Ct. 2594, 2608, 180 L.Ed.2d 475 (2011), and later by

the United States Supreme Court in Executive Benefits Ins. Agency v. Arkison, No. 12-1200 (U.S.

June 9, 2014). See also Waldman v. Stone, 698 F.3d 910 (6th Cir. 2012).

                                           Discussion

       Section 727(a) of the Bankruptcy Code provides that a debtor is entitled to a discharge

unless an exception applies. Although exceptions to discharge are strictly construed against a



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creditor, see Rembert v. AT&T Universal Card Servs., Inc. (In re Rembert),141 F.3d 277, 281

(6th Cir. 1998), “a discharge in bankruptcy is a privilege, not a right, and should only inure to the

benefit of the honest debtor.” Wazeter v. Michigan National Bank (In re Wazeter), 209 B.R. 222,

226 (W.D. Mich. 1997). Pursuant to Federal Rule of Bankruptcy Procedure 4005, the burden of

proof in objecting to a discharge under Section 727 is on the plaintiff and must be established by

a preponderance of the evidence. Barclays/American Bus. Credit, Inc., v. Adams (In re Adams),

31 F.3d 389, 394 (6th Cir. 1994).

                                       11 U.S.C. § 727(a)(2)
       11 U.S.C. § 727(a)(2)(A) states:

       (a) The court shall grant the debtor a discharge, unless –

               (2) the debtor, with intent to hinder, delay, or defraud a creditor or an
               officer of the estate charged with custody of property under this title, has
               transferred, removed, destroyed, mutilated, or concealed, or has permitted
               to be transferred, removed, destroyed, mutilated, or concealed –

                       (A) property of the debtor, within one year before the date of the
                       filing of the petition[.]

This section encompasses two elements: (1) a disposition of property, such as concealment, and

(2) “a subjective intent on the debtor's part to hinder, delay or defraud a creditor through the act

disposing of the property.” Hughes v. Lawson (In re Lawson), 122 F.3d 1237, 1240 (9th

Cir.1997). Furthermore, the creditor must prove that both of those elements occurred during the

one year period before the bankruptcy. Rosen v. Bezner, 996 F.2d 1527, 1531 (3rd Cir. 1993).

       As noted, the Plaintiff argues that the Defendant (1) omitted substantial income she

received as a result of the Judgment of the Divorce when she filed her bankruptcy petition,

namely funds received from her ½ interest in a 2010 tax refund and payments made to her on the

spousal and child support arrearage; and (2) under-reported her income on her Amended

Schedule I.

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       It is clear from the Lapeer County Friend of the Court Record that, in addition to the

mostly regularly received weekly payments of $113.00 per week, the Defendant received a few

other larger payments made at various times: $905.72 on November 21, 2011; $755.13 on

February 27, 2012; $4,199.00 on March 16, 2012; $904.82 on December 27, 2012; and $994.35

on February 19, 2013. On her originally filed Schedules, the Defendant disclosed that she was

entitled to $23,000.00 from her ex-husband for arrears on the status quo order and she exempted

that asset. She also answered questions from the Trustee about that asset at her 341 Meeting of

Creditors. The Defendant also reported her entitlement to a 2011 tax refund on her Schedules

and exempted that asset. On her Amended Schedule I, the Defendant indicated that she was

receiving $300.00 in spousal support, which was her only income. It is clear from the Lapeer

County Friend of the Court Record that the Defendant was consistently receiving $113.00 per

week from her ex-husband around the time her case was converted to Chapter 7 and she filed her

Amended Schedule I. However, only $300.00 per month of those payments stemmed from

spousal support. The remainder likely stemmed from payments from her ex-husband on the

arrears from the status quo order. While she did receive larger payments, as detailed above, at

various times, those payments were made inconsistently and at varying amounts. It should also

be noted that, despite the fact that the Debtor was receiving an average of $452.00 per month at

the time she filed her Amended Schedule I, approximately $150 more than she listed on that

Schedule, her average monthly expenses were $947.00 per month, significantly more than her

monthly income.

       Although there were a few errors with her Schedules, some of those errors can be

explained by the Defendant’s lupus, which she claims affects her memory and thought process.

Taken together, the disclosures made in her Schedules and at her 341 Meeting of Creditors and



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the Defendant’s testimony do not indicate that the Defendant concealed property with the

requisite intent to hinder, delay or defraud a creditor, especially for someone in Defendant’s

physical condition. The Court has reviewed the numerous cases cited by the Plaintiff and has

concluded that those cases can be factually distinguished from this case because the Court has

concluded that the Defendant in this case did not intend to hinder, delay, or defraud a creditor.

The Plaintiff has failed to meet its burden of proof on this count.

                                         11 U.S.C. § 727(a)(3)

          Section 727(a)(3) of the Code provides that the court shall grant a debtor a discharge

unless:

          The debtor has concealed, destroyed, mutilated, falsified, or failed to keep or preserve
          any recorded information, including books, documents, records, and papers, from which
          the debtor’s financial condition or business transactions might be ascertained, unless such
          act or failure to act was justified under all of the circumstances of the case.

          A condition precedent to discharge is that the debtor must provide to her creditors enough

information to ascertain the debtor’s financial condition and to track her finances with substantial

accuracy for a reasonable period in the past to the present. Wazeter, 209 B.R. at 227 (citing In re

Juzwiak, 89 F.3d 424, 427 (7th Cir. 1996)). Creditors and courts are not required to speculate

regarding the financial condition and history of the debtor or to reconstruct the debtor’s financial

affairs. Wazeter, 209 B.R. at 227. Intent is not an element of a Section 727(a)(3) exception to

discharge. Id.

          A debtor is not required to keep books or records in any particular form, nor do
          the creditors have to establish an intent to conceal the financial condition, as long
          as complete disclosure is made so that the creditors are not required to guess at
          what actually occurred.

United States Fid. & Guar. v. Delancey (In re Delancey), 58 B.R. 762, 768 (Bankr. S.D.N.Y.

1986).



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       The party seeking the denial of a discharge has the burden of proving the inadequacy of

the debtor’s records. To determine whether the debtor’s records are adequate, courts examine

whether the records are the type kept by a reasonably prudent debtor with the same occupation,

financial structure, education, and experience. Wazeter, 209 B.R. at 227. “Where debtors are

sophisticated in business, and carry on a business involving significant assets, creditors have an

expectation of greater and better record keeping.” Union Planters Bank, N.A. v. Connors, 283

F.3d 896, 900 (7th Cir. 2002) (citation omitted).

       Once the moving party shows that there is not sufficient written evidence to ascertain the

debtor’s financial condition and history, then the burden shifts to the debtor to show that his

failure to keep adequate records was justified in the circumstances. Wazeter, 209 B.R. at 227.

To determine whether the inadequacy of the debtor’s records was justifiable, courts look at a

variety of factors, including the debtor’s education, sophistication, business experience, size, and

complexity of the debtor’s business, debtor’s personal financial structure, and any special

circumstances. Wazeter, 209 B.R. at 230. See also Dolin v. Northern Petrochemical Co. (In re

Dolin), 799 F.2d 251 (6th Cir. 1986) (debtor’s drug and gambling addictions did not justify his

difficulty in recording his business transactions).

       The Plaintiff has failed to present any evidence that the Defendant “concealed, destroyed,

mutilated, falsified, or failed to keep or preserve any recorded information, including books,

documents, records, and papers, from which the debtor’s financial condition or business

transactions might be ascertained.” Accordingly, the Plaintiff has failed to meet its burden of

proof on this count.




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                                              11 U.S.C. § 727(a)(4)

         Section 727(a)(4)(A) bars a debtor's discharge if he knowingly and fraudulently makes a

false oath or account in connection with the case. “The false oath that is a sufficient ground for

denying a discharge may consist of (1) a false statement or omission in the debtor’s schedules or

(2) a false statement by the debtor at an examination during the course of the proceedings.” 6

Collier on Bankruptcy ¶ 727.04[1][c] at 727-42 (Alan N. Resnick & Henry J. Sommer eds., 16th

ed. 2010). In order to prevail under § 727(a)(4)(A), a creditor must establish five elements: (1)

the debtor made a statement under oath; (2) the statement was false; (3) the debtor knew that the

statement was false; (4) the debtor made the statement with the intent to deceive; and (5) the

statement related materially to the bankruptcy case. In re Zwirn, 2005 WL 1978510 (Bankr. S.D.

Fla 2005)(citations omitted).1

         The purpose of § 727(a)(4) (A) is to “ensure ‘that those who seek the shelter of the

bankruptcy code do not play fast and loose with their assets or with the reality of their affairs.’“

In re Bratcher, 289 B.R. 205, 218 (Bankr. M.D. Fl. 2003)( quoting Boroff v. Tully (In re Tully),

818 F.2d 106, 110 (1st Cir.1987)). Section 727(a)(4)(A) ensures that adequate information is

available to the case trustee and creditors without the need for examination or investigation to

determine whether the information is true. In re Craig, 252 B.R. 822, 828-29 (Bankr. S.D. Fl.

2000). Debtors have a “paramount duty to consider all questions posed on a statement or

schedule carefully and see that the question is answered completely in all respects.” Craig, 252

B.R. at 829 (internal quotation omitted). “Policy considerations mandate that the requirement to

list all assets and liabilities is an absolute obligation of those seeking discharge of their debts.”


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 While “a discharge may only be barred under § 727(a)(2) if the debtor’s intent was to defraud a creditor or an
officer of the estate, section 727(a)(4) does not so limit the objects of the debtor’s fraudulent intent”. 6 COLLIER ON
BANKRUPTCY ¶ 727.04[1][a] at 727-40.


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In re Whitehead, 278 B.R. 589, 594 (Bankr. M.D. Fl. 2002). “[A] debtor who fails to make a full

and complete disclosure of relevant information places the right to the discharge in serious

jeopardy.” Id.

        The requisite intent. . . may be discovered by inference from the facts. ‘A
        reckless disregard of both the serious nature of the information sought and the
        necessary attention to detail and accuracy in answering may rise to the level of
        fraudulent intent necessary to bar a discharge.’ However a false statement
        resulting from ignorance or carelessness is not one that is knowing and fraudulent.

6 Collier on Bankruptcy ¶ 727.04[1][a] at 727-40-41.

        As discussed in the discussion on the § 727(a)(2)(A), there were some errors in the

Defendant’s Schedules. Some of those errors can be explained by the Defendant’s lupus, which

she claims affects her memory and thought process. The disclosures made in her Schedules and

at her 341 Meeting of Creditors and the Defendant’s testimony do not indicate that the Defendant

knew that the statements were false or that she made the statements with the requisite intent to

deceive. The Plaintiff has failed to meet its burden of proof on this count.

                                            11 U.S.C. § 727(a)(7)

        Under § 727(a)(7), a debtor who has committed an act described in § 727(a)(2), (3), (4),

(5), or (6) in connection with an insider who is also a debtor in bankruptcy may be denied a

discharge. See 11 U.S.C. § 727(a)(7). “Insider” is defined in 11 U.S.C. § 101(31)(A)(iv) to

include a “relative of the debtor or of a general partner of the debtor”, a “partnership in which the

debtor is a general partner”, a “general partner of the debtor”, or a “corporation of which the

debtor is a director, officer, or person in control.”

        The Plaintiff has failed to present any evidence that the Defendant committed an act

described in § 727(a)(2), (3), or (4) in connection with an insider. Accordingly, the Plaintiff has

not met its burden of proof with regard to this count.


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                                           Conclusion

       The Court concludes that the Plaintiff has failed to meet its burden of proof with regard to

all counts of the complaint and that judgment should be entered in favor of the Defendant and

against the Plaintiff. Counsel for the Defendant is directed to prepare and submit an order

consistent with this Opinion and consistent with the procedural rules of this Court.




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Signed on July 18, 2014
                                             ____ _/s/ Daniel S. Opperman_    __
                                                  Daniel S. Opperman
                                                  United States Bankruptcy Judge




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